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                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY


 METUCHEN CENTER, INC.,
                                                     Civil Action No.: 3:20-cv-12584-FLW-TJB
                          Plaintiff,

     v.

 WEST AMERICAN INSURANCE                                  NOTICE OF CROSS-MOTION
 COMPANY; and XYZ COMPANY 1-100 (a
 fictitious name for insurance companies and
 underwriters presently unknown),

                          Defendants.


          PLEASE TAKE NOTICE that upon Defendant’s Combined Memorandum of Law in

Opposition to Plaintiff’s Motion for Summary Judgment and in Support of Defendant’s Cross-

Motion for Judgment on the Pleadings submitted herewith, the exhibits and papers submitted by

Plaintiff Metuchen Center, Inc. (“Metuchen”) in support of its Motion for Summary Judgment, and

all prior pleadings and proceedings had herein, Defendant West American Insurance Company

(“West American”) hereby cross-moves this Court, before the Honorable Freda L. Wolfson,

U.S.D.J., at the Clarkson S. Fisher Building & United States Courthouse, 402 East State Street,

Trenton, New Jersey, as soon as counsel may be heard, for (i) an Order denying Metuchen’s

Motion for Summary Judgment and granting West American’s Cross-Motion for Judgment on the

Pleadings pursuant to Rule 12(c) of the Federal Rules of Civil Procedure; and (ii) such other and

further relief as the Court deems just and proper.




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Dated: January 5, 2021             FINAZZO COSSOLINI O’LEARY
                                   MEOLA & HAGER, LLC

                                   By: /s/ Christopher S. Finazzo_______________
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 5th day of January 2021, I caused a true and complete copy of

Defendant West American Insurance Company’s Opposition to Plaintiff’s Motion for Summary

Judgment and Cross-Motion for Judgment on the Pleadings to be served on all other counsel of

record through the Court’s electronic case filing system addressed as follows:

       Michael J. Deem, Esq.
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                                                    /s/ Christopher S. Finazzo__________
                                                    CHRISTOPHER S. FINAZZO, ESQ.




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